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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

                      Plaintiff
                                               No. 17 CR 182
                v.                             Hon. Randolph D. Moss
                                               Judge Presiding
GEORGE PAPADOPOULOS

                      Defendant

                      MOTION TO WITHDRAW AS COUNSEL

       Thomas M. Breen and Robert W. Stanley, counsel of record for Defendant

George Papadopoulos, respectfully move this Honorable Court to enter an order

withdrawing their appearances as attorneys of record in the above captioned

matter. In support thereof, Counsel shows to the Court the following:

       1.       In or around February 2017, Mr. Papadopoulos hired counsel to

represent him in connection with the FBI’s investigation into the Russian

government’s efforts to interfere in 2016 presidential election.

       2.       On July 27, 2017, Mr. Papadopoulos was arrested and charged with

one count of making a materially false statement to agents of the FBI during a

voluntary interview that occurred prior to Mr. Papadopoulos retaining counsel.

Additionally, Mr. Papadopoulos was charged with one count of obstruction of

justice.

       3.       Counsel represented Mr. Papadopoulos during the criminal case and

his cooperation with the Special Counsel’s Office. On October 5, 2017, Mr.
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Papadopoulos pleaded guilty, pursuant to a plea agreement, to a one count

information charging him with making a materially false statement.

      4.       On September 7, 2017 the Court sentenced Mr. Papadopoulos to

fourteen (14) days of incarceration, one (1) year of supervised release, and imposed a

fine of $9,500. Because the criminal case has concluded, and the time for Mr.

Papadopoulos to file an appeal has passed, Counsel respectfully requests to

withdraw their appearances in this matter.

      5.       Additionally, Mr. Papadopoulos has hired other counsel to assist him

with any issues related to the criminal case following his sentencing.

      Wherefore, Counsel respectfully requests the Court enter an order

withdrawing their appearances for Mr. Papadopoulos in this matter.



                                        Respectfully submitted,

                                        /s/ Thomas M. Breen



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